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                                                        THE HONORABLE JOHN C. COUGHENOUR
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 6
                                  UNITED STATES DISTRICT COURT
 7
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE

 9        DAVID GOEBEL,                                     CASE NO. C20-0272-JCC
10                             Plaintiff,                   MINUTE ORDER
11              v.

12        FEDERAL AVIATION ADMINISTRATION,
          an agency of the United States of America,
13
                               Defendant.
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               The following Minute Order is made by direction of the Court, the Honorable John C.
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     Coughenour, United States District Judge:
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               This matter comes before the Court on the parties’ stipulated motion for relief from
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     deadlines (Dkt. No. 26). Having thoroughly considered the motion and the relevant record and
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     finding good cause, the Court hereby GRANTS the motion and ORDERS the parties to submit a
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     joint status report in this matter no later than November 19, 2020. The report should include a
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     proposed new briefing schedule. If the parties are unable to agree on any part of the report, they
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     may answer in separate paragraphs; no separate reports are to be filed.
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     MINUTE ORDER
     C20-0272-JCC
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            Case 2:20-cv-00272-JCC Document 27 Filed 11/05/20 Page 2 of 2




 1        DATED this 5th day of November 2020.

 2                                               William M. McCool
                                                 Clerk of Court
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                                                 s/Paula McNabb
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                                                 Deputy Clerk
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     MINUTE ORDER
     C20-0272-JCC
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